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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

JANET BARSTOW,

       Plaintiff,                           CASE NO.:

vs.

TARGET CORPORATION and
JOHN DOE,

    Defendants.
______________________________________/


              DEFENDANT, TARGET CORPORATION’S
      NOTICE OF REMOVAL TO UNITED STATES DISTRICT COURT

       Defendant, TARGET CORPORATION (hereinafter, “Defendant” or

“Target”), by and through its undersigned counsel and pursuant to 28 U.S.C. §§

1332, 1441, and 1446 and Local Rule 1.06, hereby removes this action from the

Circuit Court for the Sixth Judicial Circuit, in and for Pinellas, Florida, to the

United States District Court for the Middle District of Florida, Tampa Division,

on the following grounds:

                                 BACKGROUND

       1.     On or about April 29, 2021, Janet Barstow (“Plaintiff”) filed a

Complaint against Target Corporation and John Doe in the Circuit Court of the

Sixth Judicial Circuit in and for Pinellas County, Florida, captioned JANET

BARSTOW vs. TARGET CORPORATION and JOHN DOE, Case Number 21-

002142-CI (“Complaint”).

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      2.     On May 3, 2021, Plaintiff served the Summons and the Complaint on

Target through its agent for service of process.

      3.     Target is not required to obtain Defendant John Doe’s consent for

this removal because John Doe is a fictitious-name defendant who has not been

served. See Laposa v. Walmart Stores E. LP, 220CV182FTM29NPM, 2020 WL

2301446, at *2 (M.D. Fla. May 8, 2020).

      4.     There is jurisdiction over this removed action pursuant to 28 U.S.C.

§ 1441, because this action originally could have been filed in this Court pursuant

to 28 U.S.C. § 1332. Specifically, this Court has jurisdiction over this action

because there is the requisite diversity of citizenship between the Plaintiff and

Defendant, and the amount in controversy exceeds $75,000.00, exclusive of

interest and costs.

                            AMOUNT IN CONTROVERSY

      5.     The amount in controversy in this action exceeds the sum or value of

$75,000, exclusive of interest and costs.

      6.     Plaintiff alleges that this is an action for damages in excess of Thirty

Thousand Dollars ($30,000.00), exclusive of costs, interest and attorneys’ fees.

(Complaint at ¶1). Plaintiff alleges that she

      suffered bodily injury resulting in physical pain and suffering, disability,
      disfigurement, permanent and significant scarring, loss of the capacity for
      the enjoyment of life, expense of hospitalization, medical and nursing care
      and treatment, and aggravation of previously existing condition. The
      losses are either permanent or continuing and Plaintiff will suffer the
      losses in the future.

(Complaint at ¶ 15).

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        7.   In a pre-suit correspondence, Plaintiff’s Counsel represented that

“[Plaintiff] suffered multiple fractures and required surgery. Her bills are over

80k.”

        8.   In addition, Target has obtained billing ledger information –

purportedly related to the subject February 27, 2020 incident – which itemizes

charged amounts totaling $83,956.23.         See Medical and Rx Paid Claims

Itemization – Summary, attached hereto as Exhibit “B”.

        9.   A defendant’s notice of removal may assert the amount in

controversy if the complaint seeks (a) non-monetary relief or (b) a money

judgment and the State practice permits recovery in excess of the amount

demanded. 28 U.S.C. § 1446(c)(2)(A)(ii). As the Supreme Court has held, the

notice “need only include a plausible allegation that the amount in controversy

exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co. v.

Owens, 135 S. Ct. 547, 554 (2014); see also Mangano v. Garden Fresh

Restaurant Corp., Case No. 2:15-cv-477-FtM-99MRM, 2015 WL 5953346, at *1

(M.D. Fla. Oct. 13, 2015) (“A Notice of Removal must plausibly allege the

jurisdictional amount, not prove the amount”) (citing Dart, 135 S. Ct. at 554). The

defendant need not provide any evidence establishing the amount in controversy

unless and until the plaintiff contests, or the Court questions, the defendant’s

allegation as to the amount in controversy. Dart, 135 S. Ct. at 554. Although

Plaintiff has not alleged in the Complaint that the amount in controversy exceeds

$75,000.00, the Court is entitled to rely on its judicial experience and common

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sense in determining that a cause of action is likely to exceed $75,000.00 and

therefore meets the jurisdictional limits of the Court. Defendant’s allegations to

establish jurisdiction can be “combined with reasonable deductions, reasonable

inferences, or other reasonable extrapolations.” Pretka v. Kolter City Plaza Two,

Inc., 608 F.3d 744, 754 (11th Cir. 2010). Defendant is not required to prove the

amount in controversy beyond all doubt or to banish all uncertainty about it. Id.

      10.   “[T]he district court must determine whether it had subject matter

jurisdiction at the time of removal. That is, events occurring after removal which

may reduce the damages recoverable below the amount in controversy

requirement do not oust the district court’s jurisdiction.” Poore v. Am.-Amicable

Life Ins. Co. of Texas, 218 F.3d 1287, 1290-91 (11th Cir. 2000) (overruled in part

on other grounds). “It therefore logically follows that subject matter jurisdiction

is not defeated simply because the parties might anticipate a future reduction in

recoverable damages.” Henry v. K-Mart Corp., No. 8:10-CV-2105-T-33MAP,

2010 WL 5113558, at *4 (M.D. Fla. Dec. 9, 2010) (“Because Henry is, at the time

of removal, entitled to seek $78,856.64 in medical expenses (regardless of a

future set off), K–Mart has met its burden in establishing the required amount in

controversy for federal subject matter jurisdiction. Therefore, the Court denies

the motion to remand.”).

      11.   “Where, as here, the plaintiff has not pled a specific amount of

damages, the removing defendant must prove by a preponderance of the evidence




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that the amount in controversy exceeds the jurisdictional requirement.”

Williams v. Best Buy Co., 269 F.3d 1316, 1319 (11th Cir. 2001).

      12.   Taken    together, Plaintiff Counsel’s     representation, regarding

Plaintiff’s alleged injuries and medical bills, and the billing ledger information

showing charged amounts totaling $83,956.23 establish, by a preponderance of

the evidence, that the amount in controversy in this action exceeds the sum or

value of $75,000, exclusive of interest and costs and pursuant to 28 U.S.C §

1332(a).

                           DIVERSITY OF CITIZENSHIP

      13.   The matter in controversy is between citizens of different states.

      14.   Upon information and belief, Plaintiff is a citizen of the State of

Florida. For diversity purposes, citizenship is equivalent to “domicile.”

McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th Cir. 2002). “A person’s

domicile is the place of his true, fixed, and permanent home and principal

establishment, and to which he has the intention of returning whenever he is

absent therefrom.” Id. at 1257-58. See also Diller v. Heartland AG Group of

Springfield, Inc., 5:10-CV-672-OC-34TBS, 2011 WL 13295824, at *3 (M.D. Fla.

Sept. 28, 2011). To discern intent, the Court may consider factors including

“home ownership, driver’s license, voting registration, location of family, location

of business and where taxes are paid.” Turner v. Penn. Lumbermen’s Mut. Fire

Ins. Co., No. 3:07-cv-374-J-32TEM, 2007 WL 3104930, at *4 (M.D. Fla. Oct. 22,

2007); see Juvelis v. Snider, 68 F.3d 648, 654 (3d Cir. 1995) (“Persuasive

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evidence of intent can include establishment of a home, place of employment,

location of assets, and registration of car, and, generally, centering one’s

business, domestic, social, and civic life in a jurisdiction.”); see also McCormick,

293 F.3d at 1258. Plaintiff alleges that she is a “natural person residing in Pinellas

County, Florida.” (Complaint, at ¶2). Further, a Westlaw PeopleMap Report

reveals Plaintiff’s last known address (since 2019) is in Oldsmar, Florida, and

Plaintiff’s vehicle is registered in Florida.      See Westlaw PeopleMap Report,

attached hereto as Exhibit “C”. The foregoing information demonstrates that

Plaintiff’s true, fixed, and permanent home and principal establishment, to which

she has the intention of returning whenever she is absent, is Florida.

      15.    Target is a citizen of Minnesota. Specifically, Target is incorporated

in Minnesota, and its principal place of business is in Minneapolis, Minnesota.

      16.    The citizenship of John Doe is disregarded for removal purposes. See

28 U.S.C. § 1441(b)(1) (“the citizenship of defendants sued under fictitious names

shall be disregarded”). Target may ultimately argue that John Doe is fraudulently

joined, but because the citizenship of John Doe is disregarded for removal

purposes, this “obviates the need to consider fraudulent joinder at the removal

stage of the proceedings.” Laposa, 2020 WL 2301446, at *1.

      17.    Complete diversity of citizenship exists because Plaintiff is not a

citizen of the same state as Defendant, and the citizenship of “John Doe” is

disregarded. Accordingly, this Court has jurisdiction pursuant to 28 U.S.C. §

1332(a).

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                           PROCEDURAL COMPLIANCE

      18.    This Court has original jurisdiction of this civil action because the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different States. See 28 U.S.C. § 1332(a)(1).

      19.    This Notice of Removal is timely because it was filed within 30 days

after receiving the initial pleading setting forth the claim for relief upon which

this action is based. See 28 U.S.C. § 1446(b).

      20.    Removal to the Tampa Division of this Court is appropriate under

Local Rules 1.04(a) because the action was filed in Pinellas County, Florida.

      21.    As required by 28 U.S.C. § 1446(a) and Local Rule 1.06(b), true and

correct copies of all of the process, pleadings, orders and papers on file with the

State Court in this action are attached hereto “Composite Exhibit A.”.

      22.    Pursuant to 28 U.S.C. § 1446(d), notice of this Notice of Removal is

being provided to Plaintiff and the State Court Clerk contemporaneously with the

filing of this Notice of Removal with this Court.



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        WHEREFORE, Defendant, TARGET CORPORATION, by and through

its undersigned counsel, respectfully notices the removal of this action now

pending against it in the Circuit Court of the Sixth Judicial Circuit in and for

Pinellas County, Florida, Case No. 21-002142-CI to the United States District

Court for the Middle District of Florida, Tampa Division.

                                     Respectfully submitted,

                                     HILL WARD HENDERSON

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                                     ATTORNEYS FOR DEFENDANT,
                                     TARGET CORPORATION


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has
been furnished via CM/ECF to JEANETTE CARDENAS, ESQUIRE of
Morgan & Morgan, P.A., Attorneys for Plaintiff, @ jcardenas@forthepeople.com
and rreardon@forthepeople.com on June 2, 2021.


                                     /s/ Sherilee J. Samuel
                                     HILL WARD HENDERSON
                                     ATTORNEYS FOR DEFENDANT,
                                     TARGET CORPORATION

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